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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                    Plaintiffs,
                                                 Civil Action No. 3:22-cv-00211-SDD-SDJ
              v.

                                                 Chief Judge Shelly D. Dick
KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,
                                                 Magistrate Judge Scott D. Johnson

                    Defendant.

EDWARD GALMON, SR., et al.,

                    Plaintiffs,
                                                 Consolidated with
              v.                                 Civil Action No. 3:22-cv-00214-SDD-SDJ


R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,


                    Defendant.



                                           ORDER

       Before the Court is Defendants’ Emergency Motion to Cancel Hearing on Remedy and to

Enter a Scheduling Order for Trial. After considering the motion, the Court is of the opinion it

should be GRANTED.
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       IT IS THEREFORE ORDERED that the preliminary injunction hearing currently

scheduled to begin on October 3, 2023 is hereby cancelled and a scheduling order setting trial is

forthcoming.

       Baton Rouge, Louisiana, this ____ day of ________________, 2023.



                                            ________________________________________
                                            Honorable Judge Shelly D. Dick
                                            UNITED STATES DISTRICT JUDGE
                                            Middle District of Louisiana




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